       Case 3:03-cr-00020-RV     Document 98     Filed 03/01/07   Page 1 of 1



                                                                                Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

               v.                                   Case No. 3:03cr20/RV

CARRI DENISE STOKES
                                        /

                       ORDER REDUCING SENTENCE

      The term of imprisonment to which defendant Carri Denise Stokes is

sentenced is hereby reduced to a term of fifty (50) months. In all other respects the

original sentence remains unchanged.

      SO ORDERED this 1st day of March, 2007.

                                       /s/ Roger Vinson
                                       ROGER VINSON
                                       Senior United States District Judge
